Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 1 of 39

UNITED STATES BANKRUPTCY COURT FOR

THE
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
IN RE: BANKRUPTCY CASE NO
NO 06-35903
Chapter 11
SUPPLEMENT SPOT, LLC
DEBTOR Adversary No: 97-3019
YOUNG AGAIN PRODUCTS, .
INC.
United
Southern bias of "Texas
Plaintiff FILED
MAY 0 1 2007
Vs.
Michael N. Milby, Clark
Supplementspot, LLC
And JOHN ACORD
And MARCELLA ORTEGA
Defendants

Complaint for F iling False Affidavit of Service With
The Court, and Motion to Dismiss Plaintiff’s Entry of
Default Against Defendant John Acord

TO THE HONORABLE JEFF BOHM, UNITED STATE BANKRUPTCY JUDGE
COMES NOW, John Acord, Defendant, and files this Complaint against Margaret
McClure, Attorney for Plaintiff Young Again Products, Inc..

On April 23, 2007, it came to the attention of this Defendant that Margaret McClure,

attorney for the Plaintiff, had lodged with the Clerk of the United States Court for the
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 2 of 39

Southern District of Texas, a false document titled “Certificate of Service,” wherein Ms.
McClure declared that proper service was made on the Defendant. This declaration was
made on February 1, 2007, under penalty of perjury, by Margaret McClure knowing that
such declaration was false and misleading and untrue. The perjured document is attached
hereto as “Exhibit 1.” A second document was filed against another defendant in this
case, Marcella Ortega, and is attached hereto as” Exhibit 2.”

Ms McClure, Plaintiff's Attorney, knew at the time of filing of the alleged “certificate of
service” that this process was never delivered by the United State Post Office to the
Defendant, John Acord, and had been returned to her office marked as “unclaimed.”
Please see Exhibit 3, attached hereto, which was downloaded from the United States
Postal Service’s website on April 27, 2006. This record corresponds with the certified
mail registration number attached to the false “certificate or service” attached hereto as
Exhibit 1. Exhibit 4 is the same United States Postal Service tracking information for
Defendant Marcella Ortega.

Moreover, between February 18, 2007 and February 26, 2007 Defendants John Acord
and Marcella Ortega were in the Netherlands, the United Kingdom, and the Republic of
Ireland visiting distributors and vendors and could not have been properly served with the
summons in this action. See Exhibit 5 confirming completed travel by Defendants during
this period.

This Court is fully aware that the filing of false and misleading and perjured documents
by members of the bar, especially those who are certified in bankruptcy law and
regularly practice before the Court, severely hampers the Court’s ability to serve the

needs of justice in the Houston community and the Defendant requests that the harshest
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 3 of 39

sanctions available to this Court be imposed against Ms. McClure, and suggests the
following:

1.

Aw

Imposition of an fine appropriate to discourage the filing of false and misleading
affidavits of service.

The award of all costs incurred in the filing;

The dismissal with prejudice of Adversary No. 07-3019

That Ms. McClure be found in Contempt of this Court;

That Ms. McClure be bared from acting as local counsel in Bankruptcy Case No.
06-35903 and Adversary Proceeding 07-3019

And, such other remedies as this Court may choose to impose to insure the fair

administration of justice and the compliance of those who practice before it with the laws

and procedures regarding the filing of knowing false documents.

A Hearing for this Complaint is requested by this Defendant at the earliest possible time

before this Court and that Ms.. McClure be required to present herself at the hearing.

Opposition to Plaintiff's Motion For Entry of Default Judgment

Against Defendant John Acord

TO THE HONORABLE JEFF BOHM, UNITED STATES BANKRUPTCY JUDGE

Defendant, John Acord, incorporates all paragraphs of the forgoing

Complaint for Filing of A False Affidavit, and further avers:

1.

Immediately upon learning from Randall Rios, Esq., attorney for the

Trustee, Ben Floyd, that Plaintiff intended to file a Motion for Entry

of Default Against Defendant, John Acord attempted to contact his

counsel of record Patrick Hoskins, to inquire about the proper course

of action to prevent entry of a default.

2.

Unable to contact Mr. Hoskins, Defendant prepared in Pro Se the

Answer attached hereto as Exhibit 6, titled “Answer.” A copy of the

Adversary Complaint was emailed by Mr. Rios to this Defendant to aid
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 4 of 39

sanctions available to this Court be imposed against Ms. McClure, and suggests the
following:

1,

awe YN

Imposition of an fine appropriate to discourage the filing of false and misleading
affidavits of service.

The award of all costs incurred in the filing;

The dismissal with prejudice of Adversary No. 07-3019

That Ms. McClure be found in Contempt of this Court:

That Ms. McClure be bared from acting as local counsel in Bankruptcy Case No.
06-35903 and Adversary Proceeding 07-3019

And, such other remedies as this Court may choose to impose to insure the fair

administration of justice and the compliance of those who practice before it with the laws

and procedures regarding the filing of knowing false documents.

A Hearing for this Complaint is requested by this Defendant at the earliest possible time

before this Court and that Ms.. McClure be required to present herself at the hearing.

Opposition to Plaintiff's Motion For Entry of Default Judgment

Against Defendant John Acord

TO THE HONORABLE JEFF BOHM, UNITED STATES BANKRUPTCY JUDGE

Defendant, John Acord, incorporates all paragraphs of the forgoing

Complaint for Filing of A False Affidavit, and further avers:

1,

Immediately upon learning from Randall Rios, Esq., attorney for the

Trustee, Ben Floyd, that Plaintiff intended to file a Motion for Entry

of Default Against Defendant, John Acord attempted to contact his

counsel of record Patrick Hoskins, to inquire about the proper course

of action to prevent entry of a default.

2.

Unable to contact Mr. Hoskins, Defendant prepared in Pro Se the

Answer attached hereto as Exhibit 6, titled “Answer.” A copy of the

Adversary Complaint was emailed by Mr. Rios to this Defendant to aid
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 5 of 39

him in the preparation of the “Answer.”

3. Defendant filed his “Answer,” by personal delivery, with the Clerk of
the Court on Monday, April 23, 2007. Exhibit 6 shows the Clerk’s
file stamp.

4. Defendant never received a copy of the Summons and Certificate of

Service attached to the Plaintiff's Motion for Entry of Default

Judgment. Plaintiff's Exhibit Plainly shows that Adversary Complaint

was returned without delivery to the Defendant.

5. Defendant has made 7 phone calls to his attorney of record, Mr.

Patrick Hoskins, and never received a return call, so he cannot state

With certainty whether Plaintiff ever served a copy of the Summons

upon Defendant’s personal attorney of record.

8. Plaintiff's attorney, Ms. McClure cannot pretend she did not know on

February 1, the date she purportedly mailed copies of the Adversary

Complaint and Summons to Defendant, that Defendants John Acord and

Marcella Ortega were represented by attorney, Patrick Hoskins, yet

failed to mail or otherwise inform Mr.Hoskins that a summons in this

action had been issued and that a reply was required.

9. On February 9, 2007, Defendant, John Acord. Defendant’s attorney
Patrick Hoskins, and Plaintiff's attorneys appeared in this Court
regarding a contempt citation sought by the Plaintiff against the
Defendant. This Court denied the Plaintiff's contempt motion. There

should have been no confusion on the part of the Plaintiff that
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 6 of 39

Defendant was personally represented by counsel.
10. To date, Defendant is not aware that Mr. Hoskins has withdrawn as
counsel for the Defendant.
11. .To the best of Defendant’s knowledge and belief Plaintiff failed to
serve a Summons on Mr. Hoskins
12. On or about February 1, 2007, Defendant met with then current
bankruptcy counsel Barbara Rogers and her law partner David
Anderson and briefly reviewed the Adversary Complaint. At that
time, no summons had been issued or received by Mrs. Rogers law
firm.
13. Defendant was advised by Mr. Anderson who had reviewed the
Adversary Complaint and had concluded the claims asserted in the
complaint constitute property of the estate , which has the exclusive
standing to pursue. He also advised the Defendant that his office had
not received a summons and would wait until a summons had been
received to fashion an answer should he be retained as counsel in this
Adversary proceeding. In April 25, 2007, Defendant John Acord spoke
with Mr. Anderson who advised him that Anderson’s office had never
received a copy of the summons in this case.
14. Since the hearing on February 9, 2007, there have been three (3)
additional hearings in this Court attended by the Defendant and also
attended by Mrs. McClure who could have caused proper Summons to

be served or at least notified the Defendant of a Summons in this case.
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 7 of 39

-McClure failed to do so at each hearing.

15. On the 24" of April, the Court Appointed Trustee filed a motion to
dismiss the adversary proceeding or in the alternative to abate adversary
proceeding. This Complaint is based that any claims asserted by Young
Again Products, Inc in its adversary proceeding are property of the
Bankruptcy estate of SupplementSpot, LLC under section 541 of the
Bankruptcy Code which the Trustee has exclusive standing to pursue on

behalf of the estate and its creditors.

16. The Plaintiff alleges it has spent some $154,000 in its harassment of the
Defendants since the Debtor, SUPPLEMENTSPOT, LLC, entered Chapter 11.
This enormous sum illiterates the extent of the Plaintiff's effort to interfere and
obstruct the proper reorganization of SUPPLEMENTSPOT, LLC and to force it
into Chapter 7 liquidation. Many of the charges shown on the Plaintiff's
accompanying exhibits show a flagrant violation of the Consent Injunction
entered into between the Defendant and SUPPLEMENTSPOT, LLC on My 24,
2004 in the United States District Court for the Southern District of Maryland
whereby all agreed not to interfere in the operation of their respective businesses.
While many of the entries are redacted there are a few that show the Plaintiff has
used its legal resources to obtain and catalogue SUPPMENTSPOT, LLC
customers, affiliate sand agents. This information has been used to intimidate,

harass, threaten, and otherwise interfere in the business of SUPPLEMENTSPOT
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 8 of 39

LLC, all in violation of the Consent Injunction, attached hereto as Exhibit 7, with
special reference made to the specific acts PERMANENTLY enjoined and
RESTRAINED on page 3 of this Consent Injunction.
17. Exhibits 8 through 10 are examples of the Plaintiff's flagrant and brazen and
willful violations of the Consent Injunction. Defendants have 25 additional examples
of this abuse and illegal activity should this Court request them.

RELIEF REQUESTED
Defendant is not an attorney and files this without assistance of counsel
and requests this Court construe the language herein liberally so as to
protect the interests of the Defendant and achieve the purposes of the

Bankruptcy Code

19. Defendant requests that Plaintiff's Motion for Entry of a Default
Judgment be Dismissed with prejudice for all the reasons set forth herein,
and, further, in the interests of justice.

20. Defendant further requests that this Court require the Plaintiff, its
attorneys, and all those acting in concert with the Plaintiff to refrain from
further actions that may interfere with the duties of the Defendant to
assist in the proper reorganization of the Debtor, and

21. Require by order of this court that the Plaintiff immediately cease all
violations of the Consent Injunction attached hereto as Exhibit 7.

22. That Plaintiff's attorney, Margaret McClure be properly sanctioned as

set forth above.
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 9 of 39

Ss

   

ctfullf submitted,

cord
In Pro Ye
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 10 of 39

CERTIFICATE OF SERVICE

This Defendant avers that this date he mailed a copy of this COMPLAINT to
Margaret McClure

909 Fannin St., Suite 3810

Houston, TX 77010

Fax: 713-658-0335

Ben Floyd, Trustee
Munch Hardt
707 Louisiana Ave.
Houston, TX 77010

   
 
 

 

John Acord, mene
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 11 of 39

(8/98)

Case 07-03018 Document4 Filed in TXSB on 02/06/2007 F /
B 250A

United States Bankruptcy Court |

 

 

 

 

 

 

 

 

THERN . w
SOUTHERN —_ istrict of__ TEXAS
SUPPLEMENT SPOT, LLC
Inne — ) 06-35903-H4.1]
Debtor } Case No. eh eet
a ) li
YOUNG AGAIN PRODUCTS, INC. Chapter
Plaintiff 3
v. SUPPLEMENT SPOT, LLC, MARCELLA ORTEGA 7
and JOHN ACORD a/k/a JOHN LIVINGSTON 5 Ady. Proc, No, _07-03019
}

Defendant

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to filea motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons,
except that the United States and its offices and agencies shall file a motion or answer to the complaint
within 35 days.

v

 

Address of Clerk U.S. Bankruptcy Court Clerk
515 Rusk, 1* Floor
Houston, Texas 77002

 

 

 

 

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

 

 

Name and Address of Plaintiff's Attomey

909 Fannin, Suite 3810
Houston, Texas 77010

 

 

 

 

Ifyou make a motion, your time to answer is governed by Fed. R. Bankr. P, 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
IN THE COMPLAINT.

WCHAEL Ww. py iby

 

 

FEB O41 7G Clerk of the Bankruptcy Court

  

 

Date , puty Clerk
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 12 of 39

Case 07-03019 Document4 Filed in TXSB on 02/06/2007 Pz

CERTIFICATE OF SERVICE /

1, NAR GAREY M. Hecho » certify that] am, and at all times d

v (name)
service of process was, not less than 18 years of age and not a party to the matter concerning '
process was made. I further certify that the service of this summons and a copy af the compra was mauc

(date)

Pa main Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

CIN RRA TCO¥F /(60 Gogo ¥ SCS +¥E7

YU RRACOLLA ORTE SL
(209 Carize DRive
OC peLMAECN OL/4- TK 773 S

rsonal Service: By leaving the process with defendant or with an officer or agent of defendant at:
CJ Residence Service: By leaving the process with the folowing adult at:

C3 Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed
to the following officer of the defendant at:

CO Publication: The defendant was served as follows: [Describe briefly]

CJ State Law: The defendant was served pursuant to the laws of the State of ee 5
as follows: [Describe briefly] (name of state)

Under penalty of perjury, I declare that the foregoing is trae and correct,

2-/- oF Cttidicecleerg_

Date Signature

 

 

 

Print Name

PIR ARE P41. P10 chere

Business Address

909 FaArIr—yN TF 38/0

City State Zip
Mou s7tn re BPIOC/O

 

 

 

 

 
a -

Case 07-03019 Document 5 Filed in TXSB on 02/06/2007 Pg
B 250A
(895)

United States Bankruptcy Court

UTHERN EKA
sours —.___ District of TEXAS

SUPPLEMENT SPOT, LLC :
06-35903-H4.1]

Case No. _
It

YOUNG AGAIN PRODUCTS, INC. Chapter

ee en ene ee nee ener

 

v. SUPPLEMENT SPOT. LEC, MARCELLA ORTEGA
and JOHN ACORD a/k/a JOHN LIVINGSTON

Ady. Proc. No, . 07-03019

 

}

}

}

)

}

Plaintiff )
)

}

)

}

Defendant

 

 

 

Address of Clerk US. Bankruptey Court Clerk
515 Rusk, 1* Floor
Houston, Texas 77002

 

At the same time, you must also SeTve a copy of the motion or answer upon the plaintiff's attomey,

 

Margaret M. McClure ~
909 Fannin, Suite 3810
Houston, Texas 77010

 

If you make a motion, your time to answer iS governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
IN THE COMPLAINT.

MICHAEL W. Mit ee

\ Clerk of the Bankruptcy Count ” . i
2 FEB 01 2007 __ By: _\W Debayhe Ca ge

 

Date
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 14 of 39

Case 07-03019 Document5  Filedin TXSB on 02/06/2007 ip;

CERTIFICATE OF SERVICE

'\ LAPROAROY MM. Pee Lure, centty thar! am, end atan

(name}
service of process was, not less than 18 years of age and not a party to the matter concern}
Process was made. | further certily that the service of this sum mons and a copy of the complaint was made
—RK-~L-~ OF by:
{date}

ume

p Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:
QM RRR John Acord

7OOYU~ 71 B0~ ‘9/9 CAHLE DOR ive
0000 - 4 Se 3- MANOA TK 77 3S +.
DD perso YEP
erso

nal Service: By leaving the process with defendant or with an o fficer or agent of defendant at:

a) Residence Service: By leaving the process with the following adult at:

” Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed
to the following officer of the defendant at:

CI] Publication: The defendant was served as follows: {Describe briefly]

ia State Law: The defendant was

Served pursuant to the laws of the State of
as follows: [Describe briefly]

(name of staec}

Under penalty of perjury, I declare that the foregoing is true and correct,

BAL -OF

Date ~

 
 

ren crt nn ta ee

Signature

 

Print Name NARG AREY Ad Mein re,

Business Address

 

 

909 Fannin #3870

 

City

 

State Zip
Wousron “7% 7 age re

 

 
t in TXSB on 05/01/07 Page 15 of 39
Yahoo! MATS BARA arRocument 22 Filed in

“YAHOO! mait 3

Date: Wed, 25 Apr 2007 20:36:52 -0500 (CDT)

To: jpacord@yahoo.com

From: "U.S._Postal_Service_” <U.S,_Postal_Service@usps.com>

Subject: U.S. Postal Service Track & Confirm email Restoration - 7003 2260 0004 0262 2831

This is a post-only message. Please do not respond.

john acord has requested that you receive this restoration information
for Track

& Confirm as listed below.

Current Track & Confirm e-mail information provided by the U.S. Postal
Service.

Label Number: 7003 2260 0004 0262 2831

Service Type: Certified

Shipment Activity Location Date &
Time
Delivered HOUSTON TX 77010

03/22/07 11:24am

Unclaimed MAGNOLIA TX 77355
02/17/07 11:33am

Notice Left MAGNOLIA TX 77354
02/02/07 12:51pm

USPS has not verified the validity of any email addresses submitted via
its
online Track & Confirm tool.

For more information, or if you have additional questions on Track &
Confirm

services and features, please visit the Frequently Asked Questions
(FAQs)

section of our Track & Confirm site at
Hep: //wew. usps. com/shipping/trackandconfirmfags. htm

 
a e 07-030 9 Document 22 Filed in TXSB on 05/01/07 Page 16 of 39 ~—
Yahoo! Oat - Jpacord@yahoo.com

“YAHOO! mai.

Date: Wed, 25 Apr 2007 20:37:03 -0500 (CDT)
To: jpacord@yahoo.com
From: "U.S. _Postal_Service_" <U.S._Postal_Service@usps.com>

Subject: U.S. Postal Service Track & Confirm email Restoration - 7004 1160 0000 4543 4454

This is a post-only message. Please do not respond.
john acord has requested that you receive this restoration information
for Track

& Confirm as listed below.

Current Track & Confirm e-mail information provided by the U.S. Postal
Service.

Label Number: 7004 1160 0000 4543 4450

Service Type: Certified

Shipment Activity Location Date &
Time
Delivered HOUSTON TX 77010

03/22/07 11:24am

Unclaimed MAGNOLIA TX 77355
02/17/07 11:33am

Notice Left MAGNOLIA TX 77354
02/02/07 12:53pm

USPS has not verified the validity of any email addresses submitted via
its
online Track & Confirm tool.

For more information, or if you have additional questions on Track &
Confirm

services and features, please visit the Frequently Asked Questions
(FAQs)

section of our Track & Confirm site at
hetp: //www usps. com/shipoing/trackandconfirmfags. him
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 17 of 39
Continental Airlines - OnePass Statement

Home > My Account > GnePass Statement

OnePass Statement

Mr. John Acord View Other Statements:

 

 

OnePass Account Number YA749541 01/29/2007 - 02/25/2007 ow
Activity Period 01/29/2007 - 02/25/2007
OnePass Elite Level Silver
SkyTeam Elite Level Elite

> Activity Since My Last Statement

Account Summary

OnePass Elite Qualification

Description Miles Miles Points
Beginning Balance as of 01/29/2007: 112,514 0 0
Airline Activity: 8,019 5,013 1
Non Airline Activity: 0 - -
Reward Activity: 0 - -
Ending Balance as of 02/25/2007: 120,533 5,013 1
> Read more about Elite Status Qualification
Activity
Elite
Deposits / Withdrawals Qualification
Elite
Qualifying
Fare Class

Activity Miles / Elite
Details Points Miles Bonus Total Miles Points
DATE AIRLINE ACTIVITY (Flights: Purchased / Flown)
2/18/2007 Continental 580 pouston (an)- avo 5,013 2,506 7,519 2506 0

continental.com

EQM/EQP 2507 1

continental.com
2/18/2007 Booking Bonus 500 500 0 0

The Elite Qualifying Fare Class column indicates the fare class that determines your Elite Qualification
Miles and Points. Continental Airlines mileage credit will be posted to your account within five days of

travel. OnePass partner mileage credit will be posted to your account within six weeks of your
transaction,

Missing any mileage activity?
> Request mileage credit online for Continental flight activity.

> WMisit the OnePass Contact Information page to learn how to request mileage credit for airline
partner, car partner, hotel partner and non-travel partner activity.

How can you use your miles?

> Visit the Travel Rewards area to redeem your miles for travel.

> Visit the Upgrade Rewards area for upgrade rewards redemption information and rules.
, . Cage 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 18 of 39
Continental Airlines - OnePass Statement

Home > My Account > OnePass Statement S$

OnePass Statement

Mr. John Acord View Other Statements:

 

 

OnePass Account Number YA749541 02/26/2007 - 04/01/2007 +,
Activity Period 02/26/2007 - 04/01/2007
OnePass Elite Level Silver
SkyTeam Elite Level Elite

> Activity Since My Last Statement

Account Summary

OnePass Elite Qualification

Description Miles Miles Points
Beginning Balance as of 02/26/2007: 120,533 5,013 1
Airline Activity: 7,519 5,013 “1
Non Airline Activity: 0 - -
Reward Activity: ; 0 - -
Ending Balance as of 04/01/2007: 128,052 10,026 2
> Read more about Elite Status Qualification
Activity
Elite
Deposits / Withdrawals Qualification
Elite
Qualifying
Fare Class
Activity Miles / Elite
Details Points Miles Bonus Total Miles Points
DATE AIRLINE ACTIVITY (Flights: Purchased / Flown)
2/25/2007 Continental 470 austen (IAM) Q/Q 5,013 2,506 7,519 2506 0
continental.com
EQM/EQP 2507 1

The Elite Qualifying Fare Class column indicates the fare class that determines your Elite Qualification
Miles and Points. Continental Airlines mileage credit will be posted to your account within five days of

travel. OnePass partner mileage credit will be posted to your account within six weeks of your
transaction.

Missing any mileage activity?
> Request mileage credit online for Continental flight activity.

> Visit the OnePass Contact Information page to learn how to request mileage credit for airline
partner, car partner, hotel partner and non-travel partner activity.

How can you use your miles?
> Visit the Travel Rewards area to redeem your miles for travel.
> Visit the Upgrade Rewards area for upgrade rewards redemption information and rules.

> Visit the Non-travel Rewards area to use miles for magazines subscriptions, merchandise and
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 19 of 39

UNITED STATES BANKRUPTCY COURT FOR
THE
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: BANKRUPTCY CASE NO
NO 06-35903
Chapter 11

SUPPLEMENT SPOT, LLC
DEBTOR Adversary No:

  

YOUNG AGAIN PRODUCTS, UNITED STATES coutc+
INC. SOUTHERN DISTRI 2 to?

Plaintiff FILE

aint APR 23 2007
Vs.
LOQLAEL N. RELY, CLERK Ui usw

Supplementspot, LLC
And JOHN ACORD
And MARCELLA ORTEGA

Defendants

ANSWER
COMES NOW, John Acord, Defendant, and files this Answer.
Defendant Denies all allegations contained within the complaint within the aforesaid
Complaint, and further avers:
I. Denies al] material allegations contained therein or otherwise stands on the
2. amended schedules submitted to this court as true and correct to the best of his

3. knowledge.
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 20 of 39

4. Defendant relied upon the advice of competent and certified counsel in preparing
5. all schedules and declarations In this case and avers they are true and correct to

6. the best of his knowledge and advice of counsel.

7. The Plaintiff knew or should have known that all issues raised herein are issues

8. that can only be raised by the Debtor, who operates under the protection of a court
9. appointed trustee

10. That no proper summons as set for in the filings of the court was ever served upon
11. the Defendant

12. That proper time for service has lapsed and that the complaint should be

13. dismissed for lack of service.

14. Plaintiff knows or should have known that Defendant’s personal attorney is

15. Patrick Hoskins Esq., yet made no attempt to contact Mr. Hoskins to effect proper
16. service and leave to reply to the complaint

17. Defendant files this reply after discovering to his dismay from the Trustee that
the

18. Plaintiff intended to file a motion for default in this case, maintaining that proper
19. service had been made on the Defendant.

20. That Plaintiff's attorney, Margaret McClure, was present when this Defendant
21. appeared before this court on at least 3 separate occasions and made no attempt to
22. properly serve this defendant with a copy of the complaint and status order.

23. Defendant did discuss the complaint with the former attorney for the Debtor and
24. was informed at that time that no proper summons had been issued, that the case
25. would be held in “abatement,” and no reply was necessary. Afterwards, the same

26. attorney told Defendant that the court appointed trustee would handle the matter
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 21 of 39

27. as the issues raised by the plaintiff were under the Trustee’s jurisdiction and not

28. issues that could properly raised by the plaintiff.

Request For Jury Trial

The Defendant demand a jury trial on the allegations contained in this complaint and

requests that the complaint, if not dismissed by the Court, be moved to the District
Court

of proper jurisdiction

The Defendant further requests this court to construe the language of this Answer
liberally. The Defendant is not an attorney, has not consulted with an attorney on this
reply, and needs time to retain an attorney should the court allow the case to proceed.

The Defendant asks this court to enter a new scheduling order based upon service
from

this date and allow Defendant sufficient time to retain competent counsel

 
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 22 of 39

This Defendant avers that this date he faxed a copy of this ANSWER to
Margaret McClure

909 Fannin St., Suite 3810

Houston, TX 77010

Fax: 713-658-0335

Ben Floyd, Trustee

     

uite 4600

 

   

cord, Defendant

 
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 23 of 39

UNITED STATES BANKRUPTCY COURT FOR Oo
THE
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: BANKRUPTCY CASE NO
NO 06-35903
Chapter 11

SUPPLEMENT SPOT, LLC
DEBTOR Adversary No:

UNITED STATES COURT

YOUNG AGAIN PRODUCTS, $s

INC. SOUTHERN DISTRICT oF TEXAS
FHEQ

Vs.

SQL LIKOY, CLERK OF aouRT
Supplementspot, LLC

And JOHN ACORD
And MARCELLA ORTEGA

Defendants

ANSWER
COMES NOW, Marcella Ortega, Defendant, and files this Answer.
Defendant Denies all allegations contained within the complaint within the aforesaid
Complaint, and further avers:
1. Denies all material allegations contained therein or otherwise stands on the

2. amended schedules submitted to this court as true and correct to the best of his

3. knowledge.
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 24 of 39

4. Defendant relied upon the advice of competent and certified counsel in preparing
5. all schedules and declarations In this case and avers they are true and correct to

6. the best of his knowledge and advice of counsel.

7. The Plaintiff knew or should have known that all issues raised herein are issues

8. that can only be raised by the Debtor, who operates under the protection of a court
9. appointed trustee

10. That no proper summons as set for in the filings of the court was ever served upon
11. the Defendant

12. That proper time for service has lapsed and that the complaint should be

13. dismissed for lack of service.

14. Plaintiff knows or should have known that Defendant’s personal attorney is

15. Patrick Hoskins Esq., yet made no attempt to contact Mr. Hoskins to effect proper
16. service and leave to reply to the complaint

17. Defendant files this reply after discovering to his dismay from the Trustee that
the

18. Plaintiff intended to file a motion for default in this case, maintaining that proper
19. service had been made on the Defendant.

20. That Plaintiff's attorney, Margaret McClure, was present when this Defendant
21. appeared before this court on at least 3 separate occasions and made no attempt to
22. properly serve this defendant with a copy of the complaint and status order.

23. Defendant did discuss the complaint with the former attorney for the Debtor and
24. was informed at that time that no proper summons had been issued, that the case
25. would be held in “abatement,” and no reply was necessary. Afterwards, the same

26. attorney told Defendant that the court appointed trustee would handle the matter
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 25 of 39

27. as the issues raised by the plaintiff were under the Trustee’s jurisdiction and not

28. issues that could properly raised by the plaintiff.

Request For Jury Trial

The Defendant demand a jury trial on the allegations contained in this complaint and

requests that the complaint, if not dismissed by the Court, be moved to the District
Court

of proper jurisdiction

The Defendant further requests this court to construe the language of this Answer
liberally. The Defendant is not an attorney, has not consulted with an attorney on this
reply, and needs time to retain an attorney should the court allow the case to proceed.

The Defendant asks this court to enter a new scheduling order based upon service
from

this date and allow Defendant sufficient time to retain competent counsel

es Viotze! ml cy
Vax Ortega Mage

In Pro Se

CERTIFICATE OF SERVICE
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 26 of 39

This Defendant avers that this date he faxed a copy of this ANSWER to
Margaret McClure

909 Fannin St., Suite 3810

Houston, TX 77010

Fax: 713-658-0335

Ben Floyd, Trustee
Munch Hardt
707 Louisiana Ave., Suite 4600

  

 

 
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 27 of 39

Py IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND
SOUTHERN DIVISION

 

YOUNG AGAIN PRODUCTS, INC.
Plaintiff / Counter-Defendant,
vs,
JOHN ACORD a/k/a JOHN LIVINGSTON, et al.

Civil No: RWT 03CV2441
Defendants / Counter-Plaintiffs.

 

JOHN ACORD a/k/a JOHN LIVINGSTON, et al.
Third-Party Plaintiff,
VS.
ROGER MASON and IVEY MASON

Third-Party Defendants

 

 

CONSENT INJUNCTION

By agreement of the parties, as expressed on the record at the May 19, 2004 Hearing held
on Plaintiff's Motion To Enforce This Court’s Rulings On March 22, 2004, The Consent
Injunction Order Of March 25, 2004, And The Preliminary Injunction Order Of March 25, 2004,
And For An Order To Show Cause Why Defendant Should Not Be Held In Contempt For
Violating This Court’s Decrees, And For Expenses, Including Attorneys’ Fees, it is, this day
of May, 2004, by the United States District Court for the District of Maryland,

ORDERED, that Pursuant to Fed. R. Civ. P. 65(d), Defendants, their officers, agents,
servants, employees, members, and those acting in concert or participation with them who

receive notice of this Injunction, including but not limited to Young Again Nutrition, L.L.C.,

 
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 28 of 39

(collectively “Defendants”), are hereby PERMANENTLY ENJOINED and RESTRAINED, both
jointly and severally, from use of the following trademarks: Fat Absorb®, Better Immunity™,
Better Prostate™, Skin Cure®, The Osteoporosis Answer®, Vein Free®, Arthritis Arsenal®,
Arthritis Free™, Better Cholesterol®, German Zyme™, Miracle Cream™, Total Minerals™,
Total Vitamins™, the Estrogen Alternative™, or any other names, terms or marks which so
resemble any of the above marks as to be likely to cause confusion, and it is

FURTHER ORDERED, that the Defendants are hereby PERMANENTLY ENJOINED
and RESTRAINED, both jointly and severally, from marketing, selling, distributing, advertising,
brokering, transferring, publishing, or giving away for free the following books (or any excerpts
there from): Lower Cholesterol! Without Drugs; What Is Beta Glucan; Zen Macrobiotics For
Americans; The Natural Prostate Cure; Natural Arthritis Relief; No More Horse Estrogen; and
The Mineral You Need; provided however, that the Defendants may sell or give away with

 

purchase of product any of these books that remain in inventory at the time of execution of this
Order, and it is

FURTHER ORDERED, that the Defendants are hereby PERMANENTLY ENJOINED
and RESTRAINED, both jointly and severally, from use or publication of any articles or
excerpts of articles authored by Roger Mason, including articles in archives, provided however,
that the Defendants shall have 60 days from execution of this Order to remove all such articles
and excerpts from articles from all websites owned or controlled by the Defendants, and it is

FURTHER ORDERED, that the Defendants are hereby PERMANENTLY ENJOINED
and RESTRAINED, both jointly and severally, from use or publication of the name Roger
Mason, provided however, that the Defendants shall have 60 days from execution of this Order

to remove all references to the name from websites owned or controlled by the Defendants, and

it is
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 29 of 39

FURTHER ORDERED, that all parties to this case, including their respective officers,
agents, servants, employees, and those acting in concert or participation with them, are
PERMANENTLY ENJOINED and RESTRAINED from making any disparaging or defamatory
remarks about one another or their respective businesses to any third parties unless protected or
privileged pursuant to legal proceedings, and it is

FURTHER ORDERED, that Plaintiff, its officers, agents, servants, and employees,
including Roger Mason and Ivey Mason, are PERMANENTLY ENJOINED and RESTRAINED
from interfering in any way with the business of Defendants including but not limited to using
Defendants’ customer lists or other trade secret information of Defendants, provided however,
that nothing in this paragraph shall be construed to limit the Plaintiff from pursuing its claims
against the Defendants in the above captioned case or any other legal preceding in another
jurisdiction, or taking any lawful action necessary to protect Plaintiff's rights, and it is

FURTHER ORDERED, that the Defendants shall remove within one week of the
execution of this Order all references to the trademarks and copyrighted books identified above
from all websites owned or controlled by the Defendants, including the following websites:
www.youngagain.com, www.youngagainnutrients.com, www. youngagain.info,
www.supplementspot.com, www.low-fat-recipes.com, and www. youngagain2000.com.
Additionally, within one week of the execution of this Order, the Defendants shall send notice in
writing to the owners and operators of www.netheal.com, , www.avmazon.com,
www.menshealthtech.com, www.healthy-networks.com, www.second-hand-news.com,
www.healthcore21.com, www.virilityhealthstore.com, and all other websites with whom the
Defendants are affiliated or otherwise derive any revenue, requesting that they cease and desist
use of the above identified trademarks and copyrighted publications, and copies of these notices

shall be sent to the Plaintiff, and it is
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 30 of 39

FURTHER ORDERED, that, within one week of the execution of this Order, the
Defendants will provide Plaintiff with the contact information, including the name, address, and
telephone number, as known to the Defendants of the owners and operators of

www.netheal.com, www.avmazon.com, www.menshealthtech.com www.healthy-networks.com,

 

Wwww.second-hand-news.com, www.healthcore21.com, and www.virilityhealthstore.com, and all
other websites with whom the Defendants are affiliated or otherwise derive any revenue, and it is

FURTHER ORDERED, that, after the time periods for removal specified above, in the
event Plaintiff finds on the aforementioned websites owned or controlled by the Defendants any
references to the products, names, books, or articles referenced above or the name Roger Mason,
the Defendants shall have one week to remove any such references from the time of delivery of
notice given in writing and sent by facsimile or by hand, or by overnight delivery service,
addressed to:

John Acord

Young Again Nutrition, LLC.

9022 Deer Lodge Road

Magnolia, TX 77354

and

Lawrence E. Laubscher, Jr.

Laubscher Severson

1160 Spa Road, Suite 2B

Annapolis, Maryland 21403,
and that, upon a finding by the Court (after filing of proper papers from both parties) that
Defendants have failed to remove the references within the one week time period, the
Defendants shall be held in Contempt, with penalties to be assessed as deemed appropriate by
this Court including, but not limited to, monetary sanctions of $500.00 a day for continuing

violations of this Injunction commencing the 8™ day after notice is delivered and reimbursement

of Plaintiff's expenses to enforce compliance with this Injunction, including all reasonable costs
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 31 of 39

and attorneys’ fees, and it is and it is

FURTHER ORDERED, that, except as otherwise specified in the immediately preceding
paragraph, any party may seek redress against a party violating the provisions of this Consent
Injunction through motion to this Court, with relief provided as the Court deems appropriate, and
it is

FURTHER ORDERED, that Defendants shall reimburse within one week of the
execution of this Order by certified or cashier’s check made payable to Young Again Products,
Inc. and Freeman & Freeman, P.C., Plaintiff's costs and attorneys’ fees of $1,831.50 incurred in
connection with Plaintiff's Motion To Enforce This Court’s Rulings On March 22, 2004, The
Consent Injunction Order Of March 25, 2004, And The Preliminary Injunction Order Of March
25, 2004, And For An Order To Show Cause Why Defendant Should Not Be Held In Contempt
For Violating This Court’s Decrees, and it is

FURTHER ORDERED, that to the extent that the further mediation is deemed necessary

by the parties, such mediation shall be conducted by Magistrate Judge Day.

By consenting to the entry of this Order, no party subject thereto shall be deemed to have
acknowledged, admitted or otherwise agreed that such party has in any way committed any act of
copyright or trademark infringement or violated or breached any legal duty to or right of any
other party, and each party expressly reserves the right to assert, challenge or contest any such
assertions or allegations in this action or in any other legal action in which such an issue may

arise.

 

ROGER W. TITUS
UNITED STATES DISTRICT JUDGE
Case 07-03019 Document 22 Filed in TXSB on 05/01/07

copies to:

Lawrence E. Laubscher, Jr.
Laubscher Severson

1160 Spa Road, Suite 2B
Annapolis, Maryland 21403

Mark A. Freeman

Thomas R. Freeman
Freeman & Freeman, P.C.
One Church Street, Suite 200
Rockville, Maryland 20850

Page 32 of 39
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 33 of 39
Page 1 of 1

Freeman & Freeman

From: <MDD_CM-ECF_Filing@mdd_uscourts.gov>

To: <MDDdb_ECF@mdd.uscourts.gov>

Sent: Tuesday, May 25, 2004 2:03 PM

Subject: Activity in Case 8:03-cv-02441-RWT Young Again Products, Inc. v. Acord et al "Order"

***NOTE TO PUBLIC ACCESS USERS*** You may view the filed documents once without charge.
To avoid later charges, download a copy of each document during this first viewing.

US. District Court
District of Maryland

Notice of Electronic Filing
The following transaction was received from Titus, Roger entered on 5/25/2004 at 2:03 PM EDT and filed on
5/25/2004
Case Name: Young Again Products, Inc. v. Acord et al
Case Number: 8:03-cv-2441
Filer:

Document Namber: 57
Docket Text:
_ PAPERLESS ORDER APPROVING [54] Line and attached Consent Injunction. Signed by Judge Roger W
> Titus on 5/25/04. (Titus, Roger)

The following document(s) are associated with this transaction:

8:03-cv-2441 Notice will be electronically mailed to:

Mark A Freeman mafreeman@erols.com, freemanlaw@erols.com
Thomas R Freeman tfreeman@erols.com, freemanlaw@erols.com
Lawrence E Laubscher llaubscher@laubscherlaw.com

Martin Leo Vedder freemanlaw@erols.com

8:03-cv-2441 Notice will not be electronically mailed to:

5/25/04
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 34 of 39
Maryland (CM/ECF Live) Page 1 of 1

Correspondence

8:03-cv-02441-RWT Young Again Products, Inc. v. Acord et al

 

US. District Court
District of Maryland

Notice of Electronic Filing

The following transaction was received from Freeman, Thomas entered on 5/24/2004 at 5:03 PM EDT and
filed on 5/24/2004

Case Name: ‘Young Again Products, Inc. v. Acord et al
Case Number: 8:03-cv-2441

Filer:

Document Number: 54

Docket Text:

Correspondence re: Consent Injunction (Attachments: # (1) Consent Injunction)(Freeman, Thomas)
The following document(s) are associated with this transaction:

Document description: Main Document
Original filename:n/a
Electronic document Stamp:

(STAMP dcecfStamp_ID=1046883720 [Date=5/24/2004] [FileNumber=461970-0]
[a4b5206dd009ecc591921216c99aa57c7 1b69529c%e67 | bbIafc5ab8d703 1024dc
£2bc50101374de80ac52af44dac62d6 1] 7e46a76£048c4cf3af82ab9 | e9be]}

Decument description: Consent Injunction

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp ID=1046883720 [Date=5/24/2004] [FileNumber=461970- 1}
[b1a080d4ac080e8e9900ae2795565b8fd3 0cffbScfde58 1 b586b62a876 1 Seab64 fcc
e097aa6cal355bd542e0a6720a2d60 1 70024406bc 1 1 e9fe8fe42ed0b6e04]]

8:03-cv-2441 Notice will be electronically mailed to:
Mark A Freeman mafreeman@erols.com, freemanlaw@erols.com

Thomas R Freeman _tfreeman@erols.com, freemanlaw@erols.com
Lawrence E Laubscher Haubscher@laubscherlaw.com

Martin Leo Vedder freemanlaw@erols.com

8:03-cv-2441 Netice will not be electronically mailed to:

https://ecf.mdd.uscourts.gov/cgi-bin/Dispatch.pl?72583387382693 16 5/24/04
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 35 of 39

 

SupplementSpot

From: Shirley Rozeboom [rozeboom @wiidblue.net]
Sent: Monday, April 09, 2007 10:20 AM

To: CSYAN@WT.net

Subject: Fw: you're welcome -

This is the seccnd message I have received after 7 replied back to the
gentleman. I am going to send a copy of these two messages to my credit
card company along with the dispute over charges. JI have no idea wnat is
going on other than I have been charged for something I didn’t receive.

Thank you,
Shirley Rozeboom

aaietadan Original Message -~---

From: <into@youngagainproducts.com>
TO: <rozeboom@wild>iue.net>

Sent: Saturday, Epril 07, 2007 7:54 PM
Subject: Ke: you're welcome

dear shirley,

YAN sold you junk at high prices. junk like resveratrol, lycopene, hoodia

and a whole long list. we are trying to get all of them put in jail.

please go to www.youngagain.org and read The Supplements You Need.

please alsc read No More Horse Estrogen!

please look at our products at www. youngacain.com {we took this

site over this week}. we only sell proven products at low prices.

my best to you,

roger .
don't worry, the credit card company is well aware of the fraud at YAN =
as it went on for months. jane batts king is going to be charged with :
this. john "livingston" is really john acord a two time ex-con on his way
back to jail for bankruptcy fraud.

Young Again Products Internet

www. youngagainproducts.ccom

e-mail: info@youngagainproducts.com

310 N. Front St. #€15¢

Wilmington, NC 28401 U.S.A.

 

sso Original Message -----

From: Shirley Rozeboom [mailto:rozeboom@wildblue.net]
To: info@youngagainproducts.com

Sent: Sat, 7 Apr 2007 19:45:35 -0500

Subject: Re: you have been defrauded

Roger, thank you ss much for replying back to me. I cannot call my credit
card company until Monday to tell them I have been defrauded. I have been a
customer of Young Again Nutrients for 2-3 vears and I am so disappcinted. f
really loved the products.

Phank you for taking the time to let me know what is happening.

Much appreciated,

 

Shirley Rozeboom

soo Original Message -----

From: <info@youngagainproducts.com>
To: <rozeboom@wildblue.net>

Sent: Saturday, April 07, 2007 6:44 PM
Subject: RE: you have been defrauded
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 36 of 39

SupplementSpot

From: BILL BONNIE DARE [bbdare@msn.com]
Sent: — Friday, April 06, 2007 2:00 FM

To: Thomas Aronson

Cc: csyan@wt net

Subject: email

To: bonnie_dare@yahoo.com

"info@youngagainproducts.com” <info@youngagainproducts.com>
ElAdd to Address Book 8 Add Mobile Alert

Subject: # RE: selling Young Again products

Date: Fri, 6 Apr 2007 09:38:57 -0400

From:

hi bonnie,

people have been writing in saying you are working

the federal authorities wiil soon be speaking with you.
if it's nct true that’s good. “livingston” and everyone
around him are on their way to jail.

sincerely,

roger mascn

Young Again Products Internet

wwr. voungagalrproducts. com

e-mail; infoéyoungagainproducts.com

310 N. Front St. #150

Wilmington, NC 26402 U.S.B.

 

 

 

ene Original Message ----- |

From: Welkom Inn [mailto:welkominn@gawab.com]
To: sales@youngagainproducts.com

Cc: wiechB9Ayehco.com>,

Sent: Mon, 02 Apr 2007 17:31:10 +0769
Subject: About quercetin

 

Dear Sir

foam sure you will be interested by the story that I just send to a
friend whe is a witness of what happen.

I live in Thaiiand, he comes from the states and spend a few months a
year here, under the sun:

The story

Dear Robert,

Hope you had a nice flight home.

Hereby is a "good" story ebout Quercetin and Young Again.

Do you remember that I told you that the "Yound Again” Internet site
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 37 of 39

JO

intelius

Buiiding Trust™
April 20, 2006

To: Lawrence Brown

Re: Livingston, John

Dear Mr. Brown.

n reference to your inquiry about John Livingston in Magnolia. TX we found the
CHlowinp:
He was born John Patrick Acord on 1/20/43 in Los Angeles, CA. His mother is
Marcella Boyle (now Ortega} born 10/31/23 also in Los Angeles.
He has no law degree. nor did he graduate from any college, university, or trade
school. He did attend one semester of college in Washington, DC. Mr. Acord has almost
no known job history whatsoever in a search of Social Security Records.
He was involved with a Nazi paramilitary group in the late 1960s called “Liberty Lobby”.
They published the magazine “Attack!”. He was field director under Willis Carto. Mr.
Acord misappropriated about $50,000 in donations for which he v was removed from his
post, but no criminal charges were filed.
He has been repeatedly cited, fined, and investigated by the SEC in the 1970s and 1980s.
if you want detailed reports of these they are available.
In 1985 he was sentenced to ten years in federal prison for securities, wire, and mail fraud
counts. This was in the Southern District of Nevada. He remained on parole after release
untit 1995,
In 1996 he was sentenced to five years in federal prison for bankruptcy, wire, and mail
fraud counts. This was in the Northern Disirict of Texas. He was on supervised
retease until 2001. His mother Marcella, his sister Susan Hall, his brother Sean, and his
daughter-in-law Kimberly Caldwell were all involved as well as Douglass Kennett.
Only Acord and Kennett went to prison,
Curr rently Mr. Acord is being investigated by the FBI, IRS. and Texas Bankruptcy Court
in Houston. We is also involved in federal civil suits in Salt Lake City, Utah and
Greenbelt, Maryland.
If you need < any more information please contact us.

Sincerely

ec: Files Ate fe oes: §

Jonathan Davis, Investigator
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 38 of 39

JO

Intelius

Building Trust™
April 20, 2006
To: Lawrence Brown

Re: Livingston. John

Dear Mr. Brown,

in reference to your inquiry about John Livingston in Magnolia. TX we found the

fu Howing:

Tle was born John Patrick Acord on 1/20/43 in Los Angeles, CA. His mother is

Marcella Boyle (now Ortega) born 10/31/23 also in Los Angeles.

tie has no law degree, nor did he graduate from any college, university, or trade

school. He did attend one semester of college in Washington, DC. Mr. Acord has almost
no known job history whatsoever in a search of Social Security Records.

He was involved with a Nazi paramilitary group in the late 1960s called “Liberty Lobby”.
They published the magazine “Attack!”. He was field director under Willis Carto. Mr.
Acord misappropriated about $50,000 in donations for which he was removed from his
post, but no criminal charges were filed.

He has been repeatedly cited, fined, and investigated by the SEC in the 1970s and 1980s.
jf you want detailed reports of these they are available.

in 1385 he was sentenced to ten years in federal prison for securities, wire, and mail fraud
counts. This was in the Southem District of Nevada. He remained on parole after release
until 1995,

In 1996 he was sentenced to five years in federal prison for bankruptcy, wire, and mail
fraud counts. This was in the Northern Disirict of Texas. He was on supervised

release umti] 2001. His mother Marcella, his sister Susan Hall, his brother Sean, and his
daughter-in-law Kimberly Caldwell were all involved as well as Douglass Kennett.

Oniy Acord and Kennett went toe prison,

C wrrently Mr. Acord is being investigated by the FBI, IRS. and Texas Bankruptcy Court
in Houston, He is also involved in federal civil suits in Salt Lake City, Utah and
Greenbelt, Maryland.

If you need any more information please contact us.

Sincerely

ec: files a“ fen ML. hs g

Jonathan Davis, Investigator
Case 07-03019 Document 22 Filed in TXSB on 05/01/07 Page 39 of 39

Jl

Mr. Aronson,

It seems everyone who deals with
John gets cheated out of what he
owes them. If he owes you money
you need to retain an attorney im-
mediately.

“Aronson” is usually a name of
Jewish heritage. John is the most
virulent anti-Semite I’ve ever

met. He was second in command of
the biggest neo-Nazi organization
in the country. He brags about having
a half million dollar collection of
Nazi paraphernalia.

Lt:
